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oy) ZUINUapPTAD syUsUINSOp sonpoad [IM JyUTe] ‘suoTalqo pres SuUIATeEM Ino A, “sINjeUTIoId
Os[e St AIOeSOLIIIUI SIU, “sated pITy) J0/pue yUepUsyoq JO [O.WUOD 10 ‘Apoysnd ‘UoTssassod
OY] Ul A[IPPdd SIOUE SI JY] UORWLIOFUT syses Ose AJOyeSOLIOWUI stu) ‘UoNsaIGC -WAMSNV
"yequns Jo Jyeyaq uo Jo Aq apeul sem [Ted Yows Wey) UOTJUDIUOS IMOA JOJ saseq [eNyjoR]
[[e 2181S pue ‘Wegqung Jo Jjeyaq UO 10 Aq opeUl dJoM 9BaT[e NOA JY} JINSME’T SIU} UL AIZAODOI YOOS
nod YOTYM JO} sIoquinn suoydayaL se[NT[ID Ino ZX 0} st[es auoydsyay [je AJNUSp] T
SaMOLVOONNAINI
‘MOTVULIOJUI JO syusTINDOp
[evontppe sonpodd Jaye] 01 WYBI s JyWUTIe]g 0} sorpnfoid jNoyIM USAT o1e MOTAq sosuodsal
SUL "S}ORJ UMOUY 0} SuULUROUT ppe J0/pue sjoRy [eUOTIppe Ajddns Aevw sisATeue pue Yoreasal
‘WOESISIAUT ‘AIOAOOSIP JOYLN “JpUIET 0} s[qeyleav APUssaid uoTyeuOJUI YOns uodn A[UO
poseq o1e UloJaY paureyuos suotjsal[go pue sasuodsal [[e :sMOTIOJ sev saqeys ‘sjsanbay ATaAOsICq JO
799 IsML (,.yequng,, 10 ,juepusjacy,,) Spy] ‘yyequns jUuepuayeq 0} suolselqo pue sesuodsai Jay

Joy ‘Josunod pousisiepun Joy ysnomy pue Aq “(.JHULe]_,, 10 ,.WNWG,,) YW YINY JFIULE|

 

SLSANOdY AYAAOOSIC AO LAS LSAT S.ENVONGd AG
OL SASNOdSWa AGNV SNOLLOYLHO S.AHLINIV Td

 

 

‘juepusjoq
‘uonesods0o syosnyoesseyl & “CLT SALVdNOS
“A
JHUled

AAM-AWT-18000-A9-ZZ: E “ON 9889 ‘payenqis ApreTIUIS s1oy}O
[le FO sfeyeq Wo puv A[jenpralpul ‘HLLUAS HLOY

 

NOISIAIC VIMGNVXATV
VINISUIA KO LORLLSICG NAALS Va FAL YOu
LYN09 LOTAISIG SALVIS C4LIND AHL NI
Case 1:22-cv-00081-LMB-WEF Document 66-1 Filed 12/23/22 Page 2 of 16 PagelD# 629

ye s][eo 9014) polamsue JyQUIe[g ‘peiomsueun yuom yoy “wd poi] pue “urd Zo: “wre Z0:0T
JE S][ed 914} Pealoool JJHUILTY "S96 Ul SULpua Joquinu suoYdeyay Ae[N][99 JOY 0} Po199IIP 98/0
-60L-187Z CI J9][e9 ay) Woy s[feo paylorfosun UsAes poalsoad JJHUle]d “OZOT “87 API YO
‘SOOTAIOS puk sjonpold s Wequng Jo ayes oy} WOT[OS 0}
SBM S][ed asayy Jo asodind ou, “SC_LVW Ue soNIsUOD sposse JJUTE[ YOIy ‘Wa}shs SulpeIp “oul
“G2ALJ OU} Burs poovyd alam s][eo oY} Joljoq pue UONeULIOJUI UC “posoMmsuCUN JDM ST[ed Oso],
'0S96 Ul Surpus Jaquinu suoydaay seN][99 Jay 0} poyooup ‘wid [¢:9 pue “wed CHip Je 9810-602
-[ 87 CI J9T[29 BY} Wo s[[eo poyorposun omy pIalsooI JJ ‘OZOTZ ‘97 ABIN UO OSTY
‘SOOIAIOS puke sjonpold s .yyegqung aseyoind 0} JJHUIe][_ poworpos JaTy~e9 oy} “IOyLIN, “oweU
ISP| PUL SIT] IIOY} Aq SOATISWOY} AJIUSPT JOU PIp Jay[eo SUT, ‘SCLLV Ue soININsUOD syosse JJNUIeT
Yor “Wdyshs SUI[LIP “OUT “GOAL OU} Sursn pooeyd sem [yeo sty} orjoq pue uoleWOyUI UO
‘waysks SUI[RIp sUOYds 3} STeWIOINE Ue JO SATJLSIPUT ST YOIYM “YOO & puv osned v prlesy JVUIE[Y
‘s]]eo oy} SuLIaMsue Uody) ‘9696 Ul ZuIpus Joquinu suoydeya} JepN]]I9 oY 0} poyoaIp LZE9
“pr8-O1lh CI 2[[e9 sy Wosy s]jeo payolfosun omy poAarodool JJNUILT “OZOT “97 API UO
‘sored pany} WO Bjep SUTT[ES JUBADTOI JO JWd1990I OY) SUTMOT[OF esuOdsal sIy}
yuowsjddns [[IM JynuIe[_ ‘sao1ases pue sjonpoid s .yyegqung Surjjos Jo asodind oxy Joy paoeyd a13aM
ONSSI Je S][eO OY], “Yeung Fo Jyeyoq wo Jo Aq poataoal sys yeu S|[ed sy) SULoUaplAs sjuswMo0p
sonpodd [[IM Jynureyg ‘suonsalqo pres SuLAremM JNoYyIAA “oNyeutoid osye st A10jeSOLI9Ut
SIU], ‘sonsed psy} 1o/pue yuepuayag Jo [oMUOS Jo ‘Apojsno ‘uoIssassod oy) UI ATIPBdI SOU! ST
JeY} UOLeULIOJUT syses ose AtoyesoLUT sty) “UoNAlQO -YAMSNV TVLNAN A Iddns
‘sored ply} Woy elep SUITTeS yURADTaI Jo 3di900I
dq} SUIMOT[OJ dsuOdsa, sty) JUSWUATddhs [TIM JJHUIE]g ‘SOdIAJAS pue sjonpold s Yegung BurTIas Jo

asodind ay) 103 posed o1aM anssi ye s[jes oy], ‘WegUNS Jo J[eyaq UO JO Aq Paataood OYS IBY} STTeO
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JFNUIe[g yoru ‘woysds Bulperp ouy “GaALy oy) Sutsn pooeyd osom s][eo ay} Jotjaq pue UOTyeULIOJUL
UO ‘PxsMsuULUN JUdM S]][eO 9SOUL], 0S96 Ul Bulpus Joquinu suOYdslo} Ae[NI[I9 19Y 0} P9}DOAIP BZZL
-6Lb-LOb CI J9][e9 oy} Woy s][eo poyoyfosun seiy} poatosa, JpHulel “OZOT “OE API UO
"SOOIAIOS pue syonpoid
S$ YJeqUNS JO IBS SU} WOI[OS 0} sem ST[VO aso] Jo asodind sy], “SC_LV Ue SaINjI]suOD syasse
Jynurelg Yyory ‘waisAs SuIpeIp “OUT “G62AT] Oy) Sutsn pooey[d arom siyeo oy} ‘Jorjaq pue UOTyeULIOJUT
UO ‘PoOMSULUN JU STV ISOYL, "OS9G Ul ZUIpuS JoquInuU sUOYdI9} Ie[NITI9 JOY 0} P9}OOIP SZZL
“6Lb-LOb CI 49][#9 oy} WY s]jed poyorfosun moj poatooad JJNUIe]d “OZOT “67 APN UO
“SOOIAJOS pue sjonpoid
S,Yequng Jo d[es dU} POI[OS 0} seM sTTed 9soy} Jo asodind sul “SC_LV Ue saININSUOD syIosse
Jynure,g YOryM ‘W}shs SUI[eIP “OUT ‘G9ATJ 9U} BuIsn pooryd arom s][eo ou} ‘Jol[oq pue uOTyeUOyUT
UO “P2IMSULUN JUIA S][Ld 9SdILT, *OS9G Ul BUIpus Joquinu suoYydsyo} JepNI[I9 Jay 0} poyoaulp
980-602-187 CI 49][89 9y1 Woy [Ted payfoljosun suo paataool JFHULeL “OZ “67 APIA UO
“SOOTAIOS pue syonpold s Yequng Jo ayes
dU) SUTWTOI[OS Jo asodind oy} JoJ pooeld o10M s][Vo Oy} Jo [Te Tay “SC_LV Ue soMNsUOD szIasse
Jynurel | YOryM ‘wajsds Sulpelp ‘oul “Gaary oy) Bursn paoeyd azom s]peo ay} ‘Foljaq pue uoTyeULIOJUt
UO ‘ABLSSIU [IEUIDSIOA & Yo] (paprlAcid sea WLU Ise] OU) ,eYyUeUURS,, pue palomsueUN
SBM YOIYM “UB [S:[] Je [feo B paalooos osye JJUIElg losoer eyUEUIES Wo [lews Ue PoAlooal
Jynuieyg ‘eo ‘urd go:¢ oy) Surmoyjog “(popracid sem oweu jse] ou) ,.eyUeUIeY,, 0} pastiaysueny
BUIDq S1OJOq (PaplAoid sem sureU se] OU) ,.2d99qG2Xz,, 0} P9}oUUOD Bulag a10Joq AB[op puOdes OATT
0} 931] & pUk SISNUT pJeoy Jynureyg “peo ‘urd go:¢ oy) Suramsue uody -(paptacid sem oureu ysey]
OU) .BYULUIRS,, 0] poyDsUUOD BuIA s10Jaq Akfap PUES SATF 0} SOU} B PUL SISNUT presy JUTETg

‘syjeo ‘urd [¢:Z] pue ure /¢:9, Su) BuLIomsue UodyA ‘urd go:¢ pue “wed [¢:Z] “wre ZS:01
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S][eo dU} Jaljoq pue UOTLULIOJUI UC ‘palamsueUN JUS s[[eo asouy “ud [7:4 pue “urd pe:s “urd
CO: | 38 SOU] SULMOT[OF SU} 18 OSG Ul SuIpus JoquINU sUOYds]9} Ie[NI[99 19Y 0} PS}D9IP BZZL
“6Ly-LOP CI A9[[29 9y} Wo s]fed poyorfosun sey} psatsosd JyMUleT “OZOZ “€ 9uNL UO

“SOOIAIOS pue syonpold s YeqUNG Jo afes SU} JLOI]OS 0} SeM S]]ed aSey}) Jo ssodind
OE SALLY Ue saynjsuod sylasse JFHUIETG YOM “Wa}sAs BULeIP “OUT “GOAL OY} Suisn pooryd

O19M ST][ed OY} Fol[aq pue UOTeUIOFUT UD ‘palaMmsueUN 1AM s]jeo ssoyy, “wd pes pue “urd ¢[:p

“urd pp: [ :SOWt] SULMOT[OF OU) Je YS96 UL BuIpus JaqunU sUOYdoI9} Je[N][99 JOY O} P9}d9IIP 98/0
“60L-18Z CI P1[e9 oy} Woy s[fed poyorposun soi} poatoses JJMUIe] “OZOZ “c PUNE UO

“SOdTAJOS pue sjonpoid

S YJequUNS Jo aTes SU} FOTOS 0} sea [Ted STUY Jo asodind oy, “SC_LV Ue soNjHsUOD splosse JJHUIE][G

YOIyM “Ui9}sAs SUI[eIP “OUT “GOATJ OY} SUISN pooe|d o19M ST[Vd OU) ‘Jor[oq pue UOTFEWIOJUI UO

"OUUBU ISL] PUL IST AQ SOATSSUIDY} AJUSP! OU PIP ASU} YOIYM UI “oBeSSOU [LEWIOIOA & Yo] JO][e9

OY} ‘POOMSULUN JUOM []Cd SIU} JOY “0696 Ul SuIpus Joquinu suoYydaya} se[NT[99 Jay 0} payoourp
6F80-60L-187Z CI 42][29 Sy} Woy [feo pozolposun suo Poalsoal JJNUIeLg “OZOZ ‘T suNe UE

"SOOLAIOS puke sjonpoid s ,yyequng jo s[es

dU} WOTTOS 0} se s[[eo asoy} Jo ssodind sy, "SC_LV Ue saynjsuos syasse JJHUIETG Yorum ‘waysds

SUI[LIP ‘OUT “G9ALJ OU} SUISN pooeyd oJam s][eo ou} ‘Jorjoq pue UOeULIOJUL UG ‘paioaMsueuN

JUOM s[[eo oso y, ‘urd Q]:Z pue “urd 60:2 “urd go:z “urd [pg “urd Z[:¢ “wrd [[:¢

“UE PLO] :SOUT} SUIMOT[OF 94) Je ES9G Ul SuIpus saquunu suoYdsya} JepNI[IO dy 0} PajodIIp 98/0
-60L-187 CI Jaleo oy} Woy s[fed paylolosun UaAas paaladel JJULETd “OZOT “T Sune UO

“SOOIAJas pur s}onpoid

S Tequng Jo d[es dy} JOOS 0} seM sT[eo oso Jo ssodind sy, ‘SC_LV Ue SoINIsUOD syIOsse
Case 1:22-cv-00081-LMB-WEF Document 66-1 Filed 12/23/22 Page 5 of 16 PagelD# 632

SUL[eIp ‘OUT “G9AL OU} Sutsn pooeyd 10M S]]eo OY) “Joljaq pUue LOTJEULIOJUI UD “poloMsuUeUN JUaM
syjeo esau, “urd Z¢rz ye sy[Teo om] pue “urd Ter, “urd Z¢:p “urd [orp “urd [Z:] “urd go: , “urd
6S:Z| :SOUNl} SUIMOTLOF OY} Je YSOG Ul SuLpud JoqumuU suoYydasyay Ae[NI[99 JOY 0} PopoLlLp BZZL
-6Lb-LOP CI S[[29 oy} WosF s]feo payorfosun yYste poatsoad JFHUTe]d “OZOT “8 FUNE UO
"SOOIAIOS pue sjonpold s YJeqUNS Jo ses dU} WOITOS 0} sem sTTed
asoyj Jo asodind oy], "SQ.LV Ue sainsUOd spasse JJNUTeTg YOY “WasAs SuIpeIp “ouyT “G9AT] OU}
sulsn pooseyd o190M S]Ted SU} Jotpoq pue UOTWEULIOJU UG “poioMsuLUN JUdM sST[eo SsauT, “urd Q{:7
pue ‘urd / 1:7 :Soull) SULMOT[OJ OU} 18 KS96 Ul SUIpUS Joquinu sUOYdsT9} Ie[NT[I9 Jay 0} payoomp
877L-6Lb-LOP CI J9][e9 otf} Woy sles poyorosun om} poatosal JUTE] “OZOT “9 suns UO
"SOOTAIOS
pue sjonpoid s yyequng Jo o[es ay} WLOI[OS 0} sem s]]ed asa} Jo ssodind sayy, ‘SG_LY ue saNIsuOS
syosse JJUTe,Y Yor “wWiaysAs SUleIp “OUT “GSALY OU} SuIsn psovid a19M s][eo oI ‘Jorfaq pue
UOTJVULIOJUL UG ‘posoMmsueUN jUdM sT[e9 soy, “Ud op:7 pue Curd ZE:Z] CMR LEIL] “ure ES:OT
“ULB ZS:O] :SOU} SUIMOT[OJ OY} 12 OSO6G Ul SuIpUS ssquinu suOYdeya} Ie[N]JA0 Joy 0} poyoeIIp
87CL-6Lb-LOP CI J9]T89 oY} Woy s[jes poworosun say paataoal JyHUrel “OZOT “S$ 9uNL UO
‘SOOIAJOS pue s}onpoid
S,YyequUNg Jo a[eS SU} HOI[OS 0} sem S][ed asouj Jo ssodind sy], “SC_LV Ue sainjsuOd s}Josse
JFHUIE] J YOM “wajshs Surperp ‘ouy “Gaal oy) Buisn posed oJom s][eo oy} ‘Jorjaq pue UoTeULLOyUT
UOC “P2IOMSULUN JUIM S]]eO VSdU], “9696 Ul SurIpus Joquumu suoydsyo} Je[N][99 Joy 0} poyooup
877L-6Lb-LOP CI Jo[[89 Oy} Woy [[BO poyotosun suo psAtodal JFNUIe]d “OZOT “p ouNL UO
"SOOTAJOS pu SJONpOd s YEUNG Jo ayes oY} FLOI[OS 0} SEM ST[eO 9Soy) JO asodind sy,

‘SCLLV Ue sayNNsUOd s}lasse JJHUIELY YOIYM “WdjsAs SUITRIP “OUT “GOAT OU} BuIsN pooeyd oom
Case 1:22-cv-00081-LMB-WEF Document 66-1 Filed 12/23/22 Page 6 of 16 PagelD# 633

‘UoTJU9}U0 TONs Jo yoddns ut

SOR] [[e ayeys pue s]jeo suoydeyjay yons AUST *] ‘ON AJOTeSOLIOWUT 0} JoMsue INOA Ul pPotJUSpT
sjjeo suoydayay ay} Jo Aue 1oJ a[qery] Ap}OOMIp si yJequns yey) puaquos nod J] Z

‘paonpold 9q [IM sp1ose1

JUBADTOI OY} ‘SdOp BYs UST AA “LLY Wo [Tew oY} Ul sp10901 94} P2ATI99I JOU sey JJHUIE[

‘ZTOT ‘OE JAQUIAAON ‘Avpo} JO SY “JY 0} Po[IeWl 9q P[NOM sp1OdEI Sy} JU) TZOT “9 JAQUISAON

UO POWIOJUT seM oYS \LALV epraoid sotasias suoydaya} Joy Wo, splose [[eo JURADTOI SU)

poysonba sey Jgnureld “WAMSNV TV.LNAWATddNS GNOOGS 7202 ‘Of UAAIWAAON
"9SBO SIY] UI SNSSI ye sT[eo oy) JO [Je AJUSpT Yor ‘somsed psy Woy eyep pue syuouMNsop
JURADO JO 1d199901 94) SUIMOTIOJ 9sUOdsol sIy} JUOUNATddns 0} IYBI oy} SOAIOSOI JJUIET
"SOOIAIOS PUB SjoNpOId s,YeqUNG Jo d]es IY} WOI[OS 0} se sTTed osey} Jo asodind sy] ‘Sa.LV
Ue SoINII}SUOS S}JassE JJ UIe[_ Yor ‘waisds SUITIP “OUT “G2AL] OY) BuISN pooe|d oom sT[es
94} Jolfoq pu UONBULIOJUI UC “poloMsueUN UM s][eo osoyL, “urd GE:/ Je sTTeo omy pue “urd
Zep “Ud OT: ] :soumy SULMO][Oy 94} 12 S96 UL SuIpus Joquinu suOYdas{9} JvNI[99 Joy 0} poy
87ZL-6LE-LOP CI J9]129 94} Woy s[[eo poyorfosun Inoy psatooo JFHUIeT_ “OZOT “6 UNL UO
"SOOIAJOS pue sjonpold s ,WequNS Jo [es 94) WOT[OS
0} SBM [[BO STY} Jo osodind sy, ‘SC_LY we saynysuod sylosse JUTE] YoryM “wWojsks SulpeIp
OU] “G9ALJ UY} SUISN poovid sem [[ed ay} ‘Jal[aq pue UOLRULIOJUI UG ‘oUeU jse] PUR jsIIy Aq
SOA[SSW9Y} AJHUAP! JOU PIP pue SadIAJas puL sjonpold s,WequN Jo s]es dy) SUTITOT[OS [TeWUDDIOA
® Ys] Joyyeo oy], ‘urd QO: ] 1 0S96 Ul Supus soquinu suOYds[9} Je[NI[99 JOY 0} PoOIP BZZL
“6Lb-LOb CI Jo][#9 Sy} wosy [feo poyoljosun ue paalooal JZHUleT “OTOZ “8 SUN UO OST
"SOOT AJOS puv sJonpold s Wyequng Jo ayes

9Y} WOITOS 0} sem sT[ed asouj Jo ssodind sy, ‘SC_LV Ue SaINjNsUOD s}asse JJHUIETG YOry ‘uaysAs
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18 S[[eo dU} Jey} soqels JFWUTeTY ‘suoT}oalqo pres SUIATEM INOW ‘Sotjed psy) Jo/pue yUepUsToq

Jo [OUD 10 ‘Kpoysnd ‘uoIssassod ay] Ul A[IPeod S1OW SI JY] UOYULIOJUL syoes Osye ATOyeSOLIOIUL
WL “oumewioid A[sso1d st AlOeSO.LIJUI UOTJUD}UOS STU} “UOTNINIGO MAM SNV

[Teo Yons ors 0} JOodso1 YIM UOTJUD}UOS Yons Jo proddns ut

SOR] [[e 9181S pue s[[eo suOYdaya} Yous ApQUSpT ‘[ ‘ON A1OyeBOLIOVU] 0} Josue INOA Ul poyTyUopt

s[[eo suoydoya} ay1 Jo Aue IOF a[qQel] A[SNOTIeSTA SI Yeung yey) pusywod nod J] €

“sored
paryy Aq poseyd aso s]ped oy) ‘peaysuy “ATJOOIIPJ [ISH JOY 0} S[[ed oy} oyeW jou pip YequNs
yey} sospopmouyore JJnUreyg “A1OyeZO.LOULI Sty] 0} ssuodsal Ul aBpayMouy Joy Ul ATJUDLIND s}Oej

TT? poleis sey Jnuleld -WAMSNV TV.LNAWNATddnS GNOOUS 7207 “O€ WAAWAAON

‘Vdd LA 9} JO UONRIOTA UT sT[eo 94) JO¥ (SAQA) T'PIS-1'6S § “UUW epoD ‘eA Japun

91qRI] AfOOIIp SI WEqung yey} swasse Jpyurey | “A[SuIpsosoy *GSe\) ['p1S-1°6S § “UU epop

‘VA JO SUTUBOU Ot} UIYIIM ,,19]]9S,, B SI yJequng ‘yons sV¥ (°9Z-ZZONOOHLLIINS 225) ‘s}oe.yu09

DOIAIOS IOIYOA S Yequng aseyoind 0} JyyUrelg Suysorpos Jo asodind ay} Joy sovjd a19M ansst ye

S[fed ot) ‘suoTjoofqo pres SUIATEM JNO ‘soled ply] 10/pue yULpUaTaq Jo [oNUOD Jo ‘Apoisno

‘UoIssassod 3} UI A[IPeds SIOU ST JY} UOTJEWIOJUI sysos Osye AlOyeSO.LIU SY], “oInjeuoid
AJssoud st ALOWBOLOYUT UOTUa}UOD sty} “UOT99fGO “-WAMSNV TV.LNAW A TddNs

“Vdd LA 9} JO UONRIOLA Ul s[fed sy) JO} (SOMA) IPI S-1'6S § ‘UNV apoD ‘eA Jopun afqey] Ajjooup

ST Yeung yey} syosse Jynurelg ‘suonselqo pres Surarem ynoy UA “sonsed psy) 10/pue Juepusjoq

Jo [ONUOD JO ‘Apoysno “UoIssassod oY} UI A[IPROT SIOU SI JEU) UOLLULIOJUI syves OsTe AJOJeBOLOUI

sy “sINyeUad AyssoId st ALOyeSO.LOJUL UOIUSJUON sty) “UOT}Da[GO “MAM SNV
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‘eyep pue SJUSUINIOP jUBADTAI Jo Jdldd9I BY] SULMOT[OF BsuOdsai sty} quUdWd;ddns |[IM
Jyguieg pure ‘sonunuos uoyesysoaul ‘asiMJoujO “dA0gR Z “ON AlOyeSoLI9}UT 0} asuodsat Ul YIAOY
19S se (SOMA) T'PIS-1'6S § “UUW spon “BA JopuN oI qQeI] SI IEquNg yey} syosse JyNUlE] ‘sUILEIS
Vdd. LA 9U} JO 7X91U09 9} UT ‘AT[BUOTIIPPY “oNssT 7 s][eo SuISyIeWI9][9] ay) JO s}Jousq sy}
Sundosov SUIpN[oUl ‘SUOTSSIWIO pUe s}oR s}T BULATTYeI Aq SUOTIO® S$ ,UOT]ID9IOIg URSLIOUTY JO 9] qQeRI]
SI YeqUNS yey] S}osse Osye JJNUIeTY ‘soURLeM JIQgoWOINe SuI[[Is Jo sasodind 9yj 10} epLIoyy Jo
JIG OY] Ul JUSTE SH sv UOTID}O1g UROIOWY Jo uoUNUIOdde s .Yyequns JaTJor Yor ‘poonposd
s]UAWNIOp 0} UOTJUONe s ,YJequng pojsoIp osye [JUTE] ‘A]JeUONIppy “Sunsyxews[s) pue
suorje1odo $ UOTd9}01g UPITLIOWY JO Spiosse YFequNG yey} [O.WUOD [eURISqns sfedAol pure Yequns
UM drysuoneyas oy} SUIOAOS YOIYM “U0T}99}JO1g ULLIOWY YI S}USUIZAIZE [ENJO.YUOS S}I 0}
uoTuoHe s Yyequns sposp JVUIe[_ AoyMN ‘soolAJos pue syonpojd sji Sur[[as ul ysisse 0} Fururey
popraoid yequns Jey} SLiosse UOTO9JOIg UBSLIOWY “OY “S}ORIUOD DOLAIAS BpOIYOA Ss ,WequNS
JO soyes Surporyos Jo ssodind ay} oJ sTjeo paoeyd 31 3ey} pose} (,.UOTos}01g UROLIOUTY,,) “dod
uoNd9}01g URILIBWY &/G/P OTT ‘dnorn juswaseuRyy UeLYNYD “poopUy °S}OV.UOS DOTAIOS QTOIYOA
sy AqTeotyioods ‘soorases pure sjonpoid s,yyequng 3uryjas Jo asodind au} Joy paoejd osaM onsst
ye ST[ed oY} JU) soqwys JyNUIeLg ‘suooolgo pres ZUIATEM NOUILAA ‘Solsed psy} Jo/pue yUepuayoq
JO [ONUOD Jo ‘Apojsnd ‘UoTssossod dy} UI A[IPRd1 OIOW ST JY] UOTJULIOJUT syaes Ose A1oyeSo.u9yUl
ayy “ounjeutoid st AlOyeZO.LIOIUI UOTJUDUOS sIU} “UORDEfGO -WAMSNV TV.LNANA Tddns
"eJep pure sJUOWNIOP JURADII Jo JdI9991 DY} SUIMOT[OF osuOdsau sty) yUoWTddns [IM JyQUIE[g pue
‘SONUNUOS UONRSNSIAUI “SSIMIOIIO “(AS9A\) L'PIS-L'6S § ‘UUY epoD ‘BA Jepun 9]qeI| si Pequns
yey} Splosse Jyure]g ‘sute[S Vdd LA OU} JO 1X9}U09 OY} UT ‘ATTEUOTNIPpY “sotjted p.iry} soyQO pue
OTT ‘dnoin yuowsseuey] UeLNYD YIM sjUoWseI8e [erjoR.UOD SII 0] UOTUAHe $s .Yyequng syoomp

Jyuurelg AOIIOP[ “SOO1AJas pue sjonpoid s .yyequng Sulyjes Jo asodind yj Joj psoejd a1aM onsst
Case 1:22-cv-00081-LMB-WEF Document 66-1 Filed 12/23/22 Page 9 of 16 PagelD# 636

‘JOLUCS SSI[SIIM SII 0} pled I SOTUOUL OY} JOJ pozI[eo1 onjeAa Jo ssoy ‘s[[eo poyuRMuN s jJUBpUayod

JO }diaoa1 oY) Woy ynsos yey) AoeAtid Jo SUOISBAUT ‘OOURSINU ‘UONRARISSe OpNyjour posayyns oys

SULIVY [eSo] OU} Jey} Soyeys JOYLINY JFWUTe[Y “opewl sjjeo Jo Jaquinu sy) Burpsresos soomnos JUBAITOI

Joujo Aue pue yuRepusjoq Wo eyep JWeAD[II JO JdI9901 SULMOT[OJ asuodsas sty) yuotuo[ddns

[iM JFDUIeTY pue SULOsUO st AIQAOOSIC] “SUT} SIU] Je sodeWEp Jo UOEINdUOD sJo;duIOS

pue [[ny e opraoid 0} a[qeun st FOWL “Wdd. LA 94) JO UOLLIOIA UI paatadal [Teo yuanbasqns

yous Joy [jes Jad QOS pue “Vdd. LA 9Y} JO UONLIOTA UI POAIooa [[2d PUOddS 91} JOJ [Teo 19d

000°T$ “VddLA OM} JO WOHRIOTA UT PSATodaL [[ed ISNJ OY} JOF [[eo Jad OOS$ “VAL 2) JO UoNeyOrA

UI POAlgdaL [Jed Jad OOS*T$ - OOS OF PoTUS st SYS JeY} SoqEs JJWUTe[g ‘sUOTIDaIgo pres SULATEM

NOY, “UOISN[IUOD [eB9] & OJ syfeo osTe AJOJBOLMIIUL SIU, ‘sored pry) Jo/pue yuepuajoq

JO [OUD Jo ‘Apoysnd ‘UoTssassod oY} Ul ATIPBds SIOW! UOT]YUIOJUI Syses OsTe ATOJESO.UIIUT STUY,
“‘poouauuos jsnf sey AISAOOSIp se anqeutold st AroyeSo.IO}UL sty} ‘WOHIEIGO AYAMSNV

‘Juepudsjeq YoIyM Woy pue (s)uUeY

Yons JO} WOT} STI} Ul ZULyOes ase NOA sosewep Jo yuNoWk oy} AJUSpT pue UOTUD}]UOD Yons

jo yloddns ul syovy [[e oye1s USY) ‘[ “ON AlOyeSO.LIDUT 0} JOMSUB MOA UL POIfIUOpP! SOSeSSOU 3X9} IO

s][eo SU} JO YNsai eB se (S)UeY s[qesusduiod Aue porayyns NOX yey} pusyuoo NOA JT —s “ST.

"O[QU[IeAR SOWIOSIG UOTJLUOJUI [eUOTIIppe Yons se payusourayddns 9q [pL AloyeSo.uaUI

dU} ‘AIOAODSIP JO 9SO[9 SY} PUB MOU Ud9MJ9q PoUed] 9q ALUI UOTJEULIOFUI [EUONIppe U9}x9

SY} OL, "S[lejap [euoTppe Joy UoMIsodap s ,woNsajo1g UROLIEWY Woy JdLiosuey UOTIsoOdap 94} 0}
yyequng syurod pure ‘A10;e80.119,UI sty) 0} asuodsal Wt aBpapmouy Joy Ul Aus. sjoRy ay} poyels

Apeorye sey Jyuweld “WAMSNV TVLNAWA TddAs GNOOAS 7207 ‘Og WAACWAAON
Case 1:22-cv-00081-LMB-WEF Document 66-1 Filed 12/23/22 Page 10 of 16 PagelD# 637

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‘uoissassod jeorsAyd Jay Ul aie Sp10del 9y} 90U0 ATJdwWoId Os Op [[EM PUR “paArode ays [[BO
[ENPLAIPUL Yoes Joy WYSnos sasewep oy} no yds oO} UoTpISOd Joy0q & Ul dq [JIM OYS “LWLY Woy

SPIODAI [JO J9Y SOATAIaI JJUIETY US AA ‘OWT) SITY} Je AIIQe JOY JO S9q dy) 0} UONE[NITeo sosewep

ay} poreys sey JyNUleld AWAMSNV TV.LNAWAIddAS GNOOAS 7207 “Of UAAINAAON

‘souoyd]}oo Joy UO 1e9] puke ream pue “(sjusuOduIO oreMpiey pue ‘oleMyos ‘eJep payelos ou)
SUIpNout) suoydsyay Jay Jo yuswAOlUs pu ssn Jo sso] pue UONdhHLI9}UT “IOLLIed ssoaJIM SI 0} pred
}f SOTUOW UY} AOF poztpear anjea Jo ssoy ‘sTjeo poyueMun s jUepUazacy Jo Jdis0e1 oy} WO. Insel

yey, AOvALid JO SUOISVAUT ‘QoURSINU ‘UOTNeALIS3e OpH[SUI poJayyns sys suey peso] ou} yey} soqeis
JOY NY JJVUIL] g “Opew s][ed Jo Joquinu sy} SuIpIesas sooINoOs JURAITAI JayjO Aue pue juepUsyoq,
WO] Byep JUBASTAI Jo JdI9901 SUIMOTIOF asuOdsal sty} yuotWe|ddns [[IM JyUIe[g pue Sulosuo

SI AIQAODSIC] “OUT] STU) JB SOBVUILP ,SIOQUIDUT Sse [[e JO UOTeyndWos 930;dWOo pue [[NF ve apraoid
0} 9]qeun st JHU “Vdd LA OU) JO SUOTLIOIA JO} soseuep Ul YOS*TOTF S3y9os oYs pue “VdOL
SY} JO SUOTIL[OIA JOT SOSVUULP UI YONI YG SIOS SYS JJTUIELg 0} o]qepleae A[USIING VOTJeUIOJUT
oY} UO paseq ‘AtUsNbssu0d “Vdd. LA 2} JO UOHL[OIA UI poAlaoad [[eo JUONbeasqns yoee Joj [[eo Jad
000°S$ PUE “Vdd. LA 943 JO UOHEOLA UL psAledad [[29 Puodes oY} Joy [[eO Jod QOO'T$ “Wdd LA 94}
JO UOTLIOIA UL PAATIOO1 [Wd ISAT] Uy OJ [fed Jod YOS$ “VADL 24) JO UOTLIOTA UI PIATodal [Ted Jod
OOS‘T$ - OOS$ OF PaTIUS st OYs Jey} sayels JUTE] ‘suUCT}Sa[go pres BULATEM NOUA, “UOIsN[IUOS
[edo] B JOJ s[[eo osye AToySoLIUI sy L, ‘soured pry) Jo/pue JUepUayaq Jo JoNUOS JO ‘Apoysno
‘UoIssassod dy} Ul A[IPBd1 SIOW UONVULIOJUT SYIS OSTe AIOJESOLIOIUL STY_L, ‘poouswmuo0d ysnf sey

AIDAOOSIP SB oINyeUOId si AOyeSOLIIIUL STU) “MOYIEGO “YAMSNV IV.LNAWA Idd ns

‘sauoyd] [oo 104 UO Iva} pue JeoM pue “(sjusUodWwOs arempiey pue

‘QIBMIJOS “Byep poye[a1 oy) Sulpnyour) suoydayay Jay Jo yUawAOfUs pue asn Jo ssoy pue uondnauayut
Case 1:22-cv-00081-LMB-WEF Document 66-1 Filed 12/23/22 Page 11 of 16 PagelD# 638

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ysifeioods uosa}0g spoIysA :AuedWwog/juepusjoq ‘|
"sponpoid poo} poyoqe|siul 0} poyepol SI 190 IY} “OdJOAIP
B SL OU “MO[9G PIPN[OUL JOU de YOTYM SUSxIEWII[9} 0} Poye[OAUN S]UAWAPIAS OM) Oe DI9Y}
yey} a10u aseard ‘o1oWLIaYUN “poyeys ATSNoLAdld JJMUIe]Y Se YURADTOLIT S1OJO1OY} O1v pue aso
STU} 0} ASTI OAVS YOIYM s]jeo ay} oyep-aid [[e sosvo aso Jey} SION "L107 Arenuer souls s]jeo ouoyd
JO SaBessoul 1x9} [NJMETUN pasai[e O} poye[as 07 Ayied eB useq sey SYS JUOTMATYES YORe oJ osensuey
QsBdTal pue JUIWIT}I9S dy} JO aJep ‘ase ay} Jo ouUIeU AY} Soyejs JFHVUIETG MOTAq “Iap1O S.JNOZ oY}
JO JYST Ur “KQAQMOF] “ONSSI ye SUOTRSaTI[e pue SUTIE[O dU} 0} poyejar ABM OU UI SI Jey} UOTBULIOJUL
syaas ALOeSO.LOIUL smu se “(1)(Q)9OTZ dA AQ YO} Jos AJDAOSSTp Jo adoos ay) puodaq st WYsnos

UONULIOJUT ay} YI UOLoa[qo Joy Soyeroplos JFNUIL[ “YWAMSNV TV.LNAW A TddNs
“SSeILY 0} POUSIsap Ose SI A10]BSO.LI9}UL
SIU], “SJUSWOOISe AUTeIUSpIFUOS JO/pue s3o[TALd yUsT[D AotIoNe oy) Aq poyooj01d uoTeULIO;UT
SYBIs ATOJSSOLIOJUL SITY] JUSTXd OY} 0} syoofqo JOyVINY JFHUIET “WNSME] STU) Ul sosuayap pue suuTETO
a} 0} SOUBAD[AI OU SLY IVY] S}INSME] PUL JUSWI[}9S SUIPIeSOI UOTVULIOJU Syoes AIOJESOLIOVUT
SIU} “SISE] ‘ONSSI Je SUOTRSOT][e PUL SUTTE[S 94} 0} payeos ABM OU UT ST Jey) UOTJBULIOJUT
sysas ALOJVSO.LOYUI SIU SB “(1)(Q)9OZ dOUA Aq YUOJ 398 AlsAodsIp Jo adoos ay} puokaq

pue ‘owosuaping A[npun “peosgsoao Osye st AlOyeSOLIOIUL sty) “UOT}D9[GO “WAM SNV
"SJUSULIOITE YONS JO SULIO} OY) JopuN psaiooar
NOA UOT}eJOpIsuod Joy}0 JO UoNesueduOS ArejouOUE Aue Jo JUNOWe sy) pue sjUDUAAIBe ssoy)
0} sored ay} Surpnyout “uasaid 0} 41707 ‘97 Arenues WO “Wdd LA JO WdOL Ot JO suOTeTOIA
peso[e Aue SUIpniour ‘sosessout 1x9} Jo sjjeo auoyda[sy [nFMeTUN posoje Joy suitepo Surpresar

Ayred Aue Yim o7Ul posoqUs savy NOA s]UAWIdEIZe JUSWIATNeS [Je pue Aue AJNUOP[  “[Z
Case 1:22-cv-00081-LMB-WEF Document 66-1 Filed 12/23/22 Page 12 of 16 PagelD# 639

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6107 ‘EZ Ang JUDWOOIS VY jo aed

ystpeloeds uonoa}o1g aporyaa, :Auedwog/juepusjag

<c JUSUISISE PSUBIS ST} JO oep 9y) 0} dn ‘ou Jo SuruUIsaq at) Woy JUSsuUTJUOS

JO palsaa IOYJOYM “puly pue sinjeu AIOAS Jo UOTIOR JO sesned pur ‘sjIns ‘spueulep
‘sorqyfiqel] ‘sures [Te pue Aue wos ‘skoulone pure ‘s}URAas ‘s1ossadons ‘sUSISse
‘saoA0[dtlo ‘slopfoyoreys ‘SIOJOOIIP “SIOOTJJO ITOY] Jo yous YM Buoye ‘Auedurod
OSILYOSIP JOASIOJ pure yinboe ‘asesyar Agosoy op ‘suisse pue soaryeyuasoidar

[edo] ‘s1osssoons syuopuadap ‘siray sty “yueUTeTdWOD oY} MET JO sUOTELOIA pasalye 10
enjoe Aue 0} poyeod 10 Jo NO Bustle suelS Aue Sulpsesas syySu [eso] .syueure;durod
Jo JusWYysmnbul[ss oy) pue UldIDY psurejuOS sastWold OY} JO UOTVIAPISUOD UT,, :osea[oy

6107 ‘TI Isn3ny :yuaWMII9I3 YY Jo eq

suOTIN[OS eloueuly AW :AuedwioD/jUepusyac

«¢ JUSWIDSISV POUSIS SITY JO ayep oy} 04 dn ‘oury Jo SuruutBoeq oy) Woy yUSsUNUOD

JO pajsaa JOyOYM “pury pue aimjyeu Ar9A9 JO UOT}OR JO sasnes pue ‘s}ins ‘spuewap
‘sor[iIqel] ‘suureyo [Te pue Aue wo ‘sAouloye pure ‘s}URAJOS ‘sIOssooons ‘sUBISSE
‘sooA0[duia ‘sIoployaseys ‘S1OJOOIIP ‘SIN9JO Toy) Jo yous YIM Buoje ‘Auedurog
IBIVYSIP JOAdIOF pure yinboe ‘aseayai Aqaioy op ‘susisse pue saatyeyussoidax

[esa] ‘sIossasons syuspuadap ‘saray sty “WeuTe[dutos ay} Me] JO SUOTIETOIA padalie 10
Jenjoe Aue 0} poyeyad Jo Jo 1No Sulstie suey Aue Surpiesal syysu [esoy ,syueure;dwog
Jo qUaUTYsInbuljas oy) pue Ulasay poureyuos sastumoid ay] Jo UOTRJapIsUOd U],, :aseaay

610 ‘OE Jaquiaydas :jUAUIE0IZe Jo a]eq
Case 1:22-cv-00081-LMB-WEF Document 66-1 Filed 12/23/22 Page 13 of 16 PagelD# 640

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ssoooe sey ays asnedeg (ZZ ‘97 APIA AOJOq auUOYdaTa} Ae[N][I9 Jay 0} poysalIp HJequnsg Jo Jyeyoq
uo Zurjoe Ayred Aue Jo yyegung Aq pooeyd ses BUNSOTFA1 SOUDPIAD Ud}}1IM JO UOIssassod UI ‘Joey
Ul ‘ST oYs JoyJOYA AUOp JOU JWpPe JoyjIoU UO JJHUTE[g “SAOMOP “OZOT ‘OZ ABA BI0TOqQ suOYdaTo}
IE[NI[AI9 I9y 0} popsIIp WJequng Jo Jyeysq uo Sunoe Ayred Aue Jo yegung Aq suoTeoTUNUITOS
Zuoajoi uorssassod Jay Ul aie Jey) SOUpPIAS udyLIM Aue Jo sleMe A[JUOSOJd JOU SI
SYs JY} SWUUIPE OSTe JFNUIL] “OZO0Z ‘9Z AB MOJaq auOYdayay Ie[Ny[a9 J9Y 0] poyooMp yyegqunNs Jo
Jyeysq uo Sunoe Ayred Aue Jo yyequng Aq suoteotunuuios Aue 3unde]Jal 9OUSpIAS OIpne Aue JO
uolssassod ur AJUaLINS JOU ST Ys Jey} syUpe JgNUTe[d <ASNOdSAU TV.LNAWA TddNs
‘ysanbar sty} Auap 10 yuUIpe
JOYIS 0} UOYLULIOJUL puke oSpa[MOUY JUOLOYJNs syory JyHurIey,g oy sty} WV -ASNOdSAY
‘OZ0Z ‘97 API
aLOJoq JAaquINN sUOYdaTa Ae[N][ID INO ZX ela NOA poyoeyOd Jyeyoq s .-YJequng uo Surjoe A[pasoayye

Ayed Aue Jo yyequng yey} soulaptAd OIpNe JO Ws}LIM OU JO UoIssassod Ul are NOX L

 

NOISSINGYV YOU SLSANO TA

« JUSTUIOISE POUSIS SIq) Jo aJep ou} 0} dn ‘ay Jo Suruuiseq sy) Wo JUSsUTUOD

JO Pp9]soA JOYJOYM ‘pury pue sinjyeu AISAd JO UOTOR JO sasneo pure ‘sjins ‘spuewap
‘sory Iqel] ‘suites [Te pue Aue Woy ‘shouloye pue ‘s}UBAJOS ‘sIOSsoooNsS ‘sUSISSe
‘sooAolduia ‘siaployoeys ‘s1oJOaLIp ‘SIAOJJO II9y} JO yows YM Buoye ‘Auedurod
ISIVYSIP IOADIOJ pue yinboe ‘aseajas Aqoloy Op ‘suBisse pue saareyuasoidas

[esa ‘siossadons sjuspuadap ‘siley sty “yueuTeTdUIOD ay} MET JO SUOHPIOIA pasoaq[e 10
[enjoe Aue 0} poye[si 10 Jo Ino SuIsize suelo Aue SuIpIeSos sys [eso] .syueure;duro;

Jo yUOWYsINbuljos SY] pue UlaIay pautejuo sasiuoid ay) Jo UOTVIOpPISUOd UT,, :aseo]oy
Case 1:22-cv-00081-LMB-WEF Document 66-1 Filed 12/23/22 Page 14 of 16 PagelD# 641

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Ul JFHUIE[Y 0} s[jeo pooesd savy Avul yeyR sored pay) AJUOPT 07 pasnjar yequng ‘A]TeUOHIPpY
‘s[[eo oy) Jo odoos [[nyJ ou) ApQUApT sored psry) sou s]Teo Yons jooTJou ABW YOIYM ‘s][Iq auoYydeyo}
Je[N][I9 J9Y 0} ssadoV SseY OYS asnKdEq QZOZ ‘6 SUtE JOIJe SUOYI]9} Ae[NI[99 JOY 0} Po}daIIP
wequns jo Jyeyaq uo Surjoe Ayred Aue Jo yJegung Aq pooeld s[[es SuNdO[Jo DOUSPIAD UdIILIM
Jo uorssassod ul ‘yous Ul ‘ST SYS JOyJOYA AUAP 1OU JUUpe JOyIIOU UKd JJUTeTY “IBAIMOH ‘07ZOZ “6
oun Joye suoydaysy Je[n][99 Jay Oo} payoomtp YJegung Jo Jjeyaq uo SuNoe Ayved Aue Jo Yegung Aq
SUOTBOTUNUIWOD SuIOaTJol UOIssassod Jay Ul aie YY} 9OUSPTAS UdyIIM AuB Jo seme ApWUSSaId Jou
SI OYs JEU] SIWUpe osye JJWUIL[_ ‘OZOT ‘6 GUNG Jaye ouOYdeya} Je[N][oo Joy 0} poyoop Yegung Jo
Jreyoq uo Sunoe Ayred Aue Jo yyegung Aq suoneorunuMos Aue SUNdI[JOI DOUDpIAD OIpne Aue Jo
uoIssassod Ul ApJUOLIN JOU ST Ys yey} spe HUE -ASNOdSAY TVLNAWA TddNs
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‘0207 “6 SuNL
Joye Jaquiny suoYydsaL, Je[N][ID INOZ VIA NOA pazoeyWO Fpeyo Ss .yyequng uo Suyoe A[posayye

Ayred Aue JO YJeguNS yey} SOUIPIAD OIpNe JO US}}LIM OU JO UOTssassod ul oe NOX *g

"JUdS 9q [[IM JUOTATddns & Tamsue oy} SOsULYD ‘AIOAODSIP JOJO JO ‘SAOge PadUdJAJOI SP1OI9I

QuOYd[][99 dy] JUd}X9 DY) OL, ‘UoTssassod yesiskyd s ,WWWS Ul APUALIND UOTeULIOFUT ay} UdAIB

‘oqep Sit JO se WUpY “WAMSNV TV.LNAWATddNS GNOOGS 77207 “O€ WAAWAAON

‘UONEWIOJUL pue syuouMoop aatsuodsal [eaAal ABUL YOIYM SAIOAOOSIP Ul JJNUIL] J 0} S{Teo
poovyd oavy Aew yeu} sonsed psryy Apuuapt 0} posnyol yyegung ‘A][euOTIppyY ‘eased SIq) UL oNssI

ye s][eo [[e Jo adoos [[NF ou} SuNoaTJou s]jeo yons yooTfor Aewl yoryaa ‘sypiq suoydayay IepNyJI0 Jay 0}
Case 1:22-cv-00081-LMB-WEF Document 66-1 Filed 12/23/22 Page 15 of 16 PagelD# 642

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OLZOY Opesojod “Iaauaq

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pSOO-IZE-LSL :ouoydafay,
TSPET VA “Yobog eIUIsILA,
LOT MINg “pal WINS 699F
(Wd sd JOMET][OOSLIP@)yuesy)
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sAOWOPYV $ JJUIe][ JO UO
OSNjad FT Yodo /S/ :kq

 

‘poyenyis A[Je]TWIS s19qj30
[ye Jo Jyeyaq uo pure Ayjenprarpul “ALIAS HLA ZZOT ‘OE OQUISAON :poyed

“TON
AIOVESOLIIU] 0} ssuodsa [eyuowa[ddhs s JyWUIETY Ul pUNOJ oq UD aNssT ye s{[eo ot] Jo UMOPyealg
aja{duloo y ‘ouleU }se] pu JsMy Aq SOATOSUIDY] AJHUSPI JOU PIp Jay[eo oy} ‘adessour [IeWIDOIOA

& YS] VY} Jo polomsue sem yey} [[ed AIDAd JO “Aud -ASNOdSAY TV.LNAWN A Tdd Ns
‘ysonbos sty} AUap JO yWuIpe

JOYS 0} UONRULIOFUT pue sspo|MOUY JUSTOLJNs syovy Jue; OWN styy IV -ASNOdSAA
“Yequng Jo J[eyaq Uo JO Woy SUITES seM SYS JO dU yey} 93e}s JOU PIp AayTTeo

oy} ‘Jure;dwio|D INOA Jo pz-¢7Z SYdesBeseg Ut poquosop s|[eo sy] Jo yowa SuLINq  ‘9T

‘yUaS 9q [[IM JUSUTs]ddhns v ‘roMsuUP OY) SATULYO ‘AIOAOOSIP JOYJO JO “AAOQE PIdUaIaJa1 Sp109a1

sUOY]fe9 94} JU9}xe ay] OL ‘UoIssassod [eorsAyd s ,YTWIG UI APUALINS UOTEULIOJUL ay] UDAIS

“orep ST} JO sv “WWpPY -WAMSNV TIV.LNAWATddNS GNOOUS 7207 “OF WAGINAAON

"UOTJLULIOJUL pue syuSTUNSOp satsuodsal [eaAad ABUL YOIYM ‘AIDAOOSIP
Case 1:22-cv-00081-LMB-WEF Document 66-1 Filed 12/23/22 Page 16 of 16 PagelD# 643

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OSN] ad "H YA /S8/
‘TZOT “OE JOQUIDAON UO [IeUl STUODaTa Aq p1odaI JO Jasunod uodn padsas

sem sioded aa0ge at} Jo Adod 1991109 pure ony} & IVY) SolyIIAO Agalay pousisiopun sy]

HOVANAS JO ALVOMILAAD

SOSSE[D OY} pue JJVUIE[Y Joy sAowIONYy

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